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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


MAX WAIT,                                             File No. 1:20-cv-1012

Plaintiff,                                            Hon.


v.


KNOLL, INC.,

       Defendant.



                  COMPLAINT AND JURY DEMAND



                                    COMPLAINT

       Plaintiff Max Wait, by his attorneys, Pinsky, Smith, Fayette & Kennedy, LLP,

represents:


     COUNT I - FEDERAL AGE DISCRIMINATION IN EMPLOYMENT ACT

                            Jurisdiction, Venue and Parties

       1.     Plaintiff seeks legal and equitable relief regarding deprivation of certain

rights secured by the Age Discrimination in Employment Act of 1967, the same being

29 U.S.C. §§ 621-634. Such relief is authorized under 29 U.S.C. § 626(b)(c).




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      2.     This Court has jurisdiction pursuant to 29 U.S.C. §626(c)(d).          The

amount in controversy exceeds Seventy-Five Thousand ($75,000.00) Dollars,

exclusive of interest.   Jurisdiction is also based upon 28 U.S.C. §1331 (federal

question) and §1332 (diversity of citizenship).

      3.     Plaintiff is a resident of Muskegon County, Michigan, and the Western

District of Michigan, Southern Division.        At the time the claims set forth herein

arose, Plaintiff was within the age limits established by 29 U.S.C. §631.

      4.     Defendant is a for profit corporation organized under the laws of the

State of Delaware, qualified to do business in Michigan and doing business in

Michigan and the Western District of Michigan, Southern Division.          Its corporate

offices are in the State of Pennsylvania.

      5.     Venue is proper within this judicial district under 28 U.S.C. §1391(b).



                                 Statement of Facts

      6.     Plaintiff was employed by Defendant on August 20, 1984.        On April 22,

2019, he was discharged for alleged violation of certain workplace rules. Plaintiff

was a welder throughout most of his employment.          At the time of his discharge he

was 59 years old, having a birthdate of September 16, 1959, and had been employed

by Defendant for over thirty-four (34) years.

      7.     Plaintiff during his employment by Defendant performed his job in an

entirely satisfactory manner.


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      8.       In or about May, 2017, Plaintiff was offered a “buyout” which he

rejected.

      9.       In or about March and April, 2019, Plaintiff allegedly violated certain

workplace rules by, among other things, writing his vacation preference on the

department calendar as he had done for many years.

      10.      As a result of said alleged violation, Plaintiff was discharged without

being subjected to progressive discipline as was customarily applied to employees at

Defendant in the same or similar circumstances as Plaintiff.

      11.      Plaintiff was replaced by a person substantially younger than he.

      12.      Plaintiff represents that age was a determining factor with respect to

his discharge by Defendant and said employment decision was willful.

      13.      As a result of Plaintiff’s discharge by Defendant, he lost earnings and

benefits.

                                    Cause of Action

      14.      Defendant, by discharging Plaintiff as aforesaid, violated 29 U.S.C.

§623(a) in that it discriminated against him because of age and such discrimination

was willful.

                                Statutory Prerequisite

      15.      Plaintiff filed a charge of age discrimination on or about January 10,

2020, with the Equal Employment Opportunity Commission (EEOC) and within 300

days of the commission of the unlawful employment practice alleged herein.


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      16.     Plaintiff received on August 27, 2020, a Notice of Right to Sue from the

EEOC dated August 25, 2020.

      17.     This action has been filed within ninety (90) days of the receipt of said

Notice of Right to Sue.

                                         Relief

      WHEREFORE, Plaintiff requests judgment against Defendant as follows:

              a)    An amount equal to lost earnings and benefits;

              b)    Liquidated damages;

              c)    Plaintiff’s costs and interest herein and reasonable attorney’s

      fees;

              d)    An order reinstating Plaintiff in an appropriate position; and

              e)    Such other legal and equitable relief as may be appropriate to

      effectuate the purpose of said Act.



       COUNT II – MICHIGAN’S ELLIOTT LARSEN CIVIL RIGHTS ACT

                               Jurisdiction and Parties

      18.     Plaintiff seeks legal and equitable relief regarding deprivation of certain

rights secured by Michigan’s Elliott Larsen Civil Rights Act.

      19.     Jurisdiction of this Count II is founded upon pendent jurisdiction since

this Court as set forth in Count I of this Complaint has jurisdiction pursuant to 29

U.S.C. §626(c)(d) and also upon 28 USC §1332, diversity of citizenship.


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      20.    This Count II is separate and independent of the claims set forth in

Count I but is between the same parties and is based upon the same operative facts

as set forth in Count I.

      21.    Judicial economy, convenience, and fairness to the parties herein will be

furthered if the whole case is tried at one time.

      22. - 23.     Plaintiff incorporates by reference Paragraph 3 - 4 Count I as

paragraphs 22 - 23 of this Count II.

                                  Statement of Facts

      24-31. Plaintiff incorporates by reference paragraphs 6 - 13 of Count I as

Paragraphs 24 - 31 of this Count II.

      32.    As a result of Plaintiff’s discharge by Defendant, he lost earnings and

benefits and suffered mental anguish and emotional distress.

Cause of Action

      33.    Defendant, by discharging Plaintiff as aforesaid, violated MCLA

37.2202 in that it has discriminated against Plaintiff because of his age.



                                         Relief

      WHEREFORE, Plaintiff requests judgment against Defendant as follows:

             a)     Compensatory damages in an amount in excess of Seventy-Five

      Thousand ($75,000.00) Dollars, exclusive of interest and costs;

             b)     An award to Plaintiff for back pay and lost benefits;


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              c)     Plaintiff’s costs and interest herein and reasonable attorney’s

      fees;

              d)     An order reinstating Plaintiff in an appropriate position; and

              e)     Such other legal and equitable relief as may be appropriate,

      including exemplary damages.



                 COUNT III – AMERICANS WITH DISABILITIES ACT

                            Jurisdiction, Parties and Venue

      34.     Plaintiff seeks legal and equitable relief regarding certain rights secured

by the Americans With Disabilities Act of 1990, as amended (ADA), the same being

42 USC §12.101 et seq.

      35.     This court has jurisdiction pursuant to §12.117 of the ADA. Jurisdiction

is also based upon 28 USC §1331 (federal question) and §1332 (diversity of

citizenship). The amount in controversary exceeds Seventy-Five Thousand ($75,000)

Dollars, exclusive of interest and costs.

      36.     Plaintiff is a resident of Muskegon County and the Western District of

Michigan Southern Division. He is covered by the ADA.

      37 - 38.       Plaintiff incorporates by reference Paragraphs 4 -5 of Count I as

Paragraph 37 – 38 of this Count III.

                                  Statement of Facts

      39 - 41.       Plaintiff incorporates by reference Paragraphs 6 - 8 of Count I as

Paragraphs 39 - 41 of this Count III.



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      42.      In or about early December 2018, Plaintiff went off work and was placed

on short-term disability in order to have knee surgery.

      43.      In or about early March 2019, Plaintiff returned to work after having

knee surgery.

      44 - 45.       Plaintiff incorporates by reference Paragraphs 9 – 10 of Count I

as Paragraphs 44 - 45 as this Count III.

       46.     Plaintiff represents that his discharge on April 22, 2019, as aforesaid

was because he was perceived as having a disability or a record of a disability because

of his knee surgery within the meaning of the ADA and said employment decision

was willful.

      47.      Plaintiff incorporates by reference Paragraph 13 of Count I as

Paragraph 47 of this Count III.

                                     Cause of Action

      48.      Defendant, by discharging Plaintiff as aforesaid, violated 42 USC

§12.101 et seq. in that it discriminated against him because of a disability as and

such discrimination is willful.

                                  Statutory Prerequisite

      49 - 51.       Plaintiff incorporates by reference Paragraphs 15 – 17 of Count I

as Paragraphs 49 – 51 of this Count III.

                                          Relief

      WHEREFORE, Plaintiff requests judgment against Defendant as follows:

               a)    An amount equal to lost earnings and benefits;



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                b)    Compensatory damages in an amount in excess of Seventy-Five

      Thousand ($75,000.00) Dollars, exclusive of interest and costs;

                c)    Punitive damages;

                d)    Plaintiff’s costs and interest herein and reasonable attorney’s

      fees;

                e)    An order reinstating Plaintiff in an appropriate position; and

                f)    Such other legal and equitable relief as may be appropriate to

      effectuate the purposes of ADA.



COUNT IV – MICHIGAN’S PERSONS WITH DISABILITIES CIVIL RIGHTS ACT

                             Jurisdiction, Parties and Venue

      52.       Plaintiff seeks legal and equitable relief regarding deprivation of certain

rights secured by Michigan’s Persons with Disabilities Civil Rights Act (PWDCRA),

MCL 37.1101, et seq.

      53.       Jurisdiction of this Count IV is founded upon pendant jurisdiction

pursuant to 42 USC §12.101, et seq. and also upon 28 USC §1332 (diversity of

citizenship).

      54.       This Count IV is separate and independent of the claims set forth in

Count III but is between the same parties and based upon the same operative facts

as set forth in Count III.

      55.       Judicial economy, convenience, and fairness to the parties herein will be

furthered if the whole case is tried at one time.



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      56 - 58.      Plaintiff incorporates by reference Paragraphs 36 - 38 of Count

III as Paragraphs 56 - 58 of this Count IV.

                                  Statement of Facts

      59 – 65.      Plaintiff incorporates by reference Paragraphs 39 - 45 of Count

III as Paragraphs 59 - 65 of this Count IV.

      66.     Plaintiff represents that because of his knee surgery he was perceived

as having a disability or a record of a disability within the meaning of the PWDCRA.

      67.     Plaintiff incorporates by reference Paragraph 47 of Count III as

Paragraph 67 of this Count IV.

                                    Cause of Action

      68.     Defendant, by discharging Plaintiff as aforesaid, violated the PWDCRA

in that it discriminated against Plaintiff because of his disability.

                                         Relief

      WHEREFORE, Plaintiff requests judgment against Defendant as follows:

              a)    An award to Plaintiff for back pay and lost benefits;

              b)    Compensatory damages in an amount in excess of Seventy-Five

      Thousand ($75,000.00) Dollars, exclusive of interest and costs;

              c)    An Award to Plaintiff for exemplary damages;

              d)    Plaintiff’s costs and interest herein and reasonable attorney’s

      fees;

              e)    An order reinstating Plaintiff in an appropriate position; and

              f)    Such other legal and equitable relief as may be appropriate to

      effectuate the purposes of ADA.

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Dated: October 22, 2020        PINSKY, SMITH, FAYETTE & KENNEDY, LLP
                               Attorneys for Plaintiff

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                                JURY DEMAND

      To the extent jury trial is allowed with regard to any of the issues herein,

Plaintiff demands same.


Dated: October 22, 2020        PINSKY, SMITH, FAYETTE & KENNEDY, LLP
                               Attorneys for Plaintiff

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